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                                     UNITED STATES DISTRICT COURT
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                                   NORTHERN DISTRICT OF CALIFORNIA
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                                         SAN FRANCISCO DIVISION
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12   UNITED STATES OF AMERICA,                       )   CASE NO. 3:22-CR-426-JSC
                                                     )
13           Plaintiff,                              )   STIPLATION REGARDING U.S. HOUSE OF
                                                     )   REPRESENTATIVES RECORD ABOUT
14      v.                                           )   SPEAKER NANCY PELOSI’S SCHEDULE
                                                     )
15   DAVID WAYNE DEPAPE,                             )
                                                     )
16           Defendant.                              )
                                                     )
17

18           IT IS HEREBY STIPULATED AND AGREED, between plaintiff, the United States of
19 America, by its undersigned counsel, and defendant, David DePape, by his undersigned counsel, as

20 follows:

21           The record at Exhibit 511 does not include the Speaker’s schedule for October 24 and 25, 2022,
22 when she was out of the country on work travel.

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     STIPULATION RE: SCHEDULE
     3:22-CR-426-JSC                                 1
            Case 3:22-cr-00426-JSC Document 163 Filed 11/14/23 Page 2 of 2




 1 IT IS SO STIPULATED AND AGREED.

 2 Dated:        November 13, 2023                   /s                     ___
                                              HELEN L. GILBERT
 3                                            LAURA VARTAIN HORN
 4                                            Assistant United States Attorneys

 5

 6               November 13 2023                    /s                   ___
                                              ANGELA CHUANG
 7                                            JODI LINKER
 8                                            Attorneys for Defendant David DePape

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     STIPULATION RE: SCHEDULE
     3:22-CR-426-JSC                      2
